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COUNSEL/PARTIES GF RECORD
Nicholas A. Trutanich JUL -8 2019
United States Attorney
District of Nevada
CLERK US DISTRICT COURT

Nevada Bar Number 13644 DISTRICT OF NEVADA
Robert A. Knief BY: DEPUTY
Assistant United States Attorney

501 Las Vegas Boulevard South, Suite 1100
Las Vegas, Nevada 89101

Telephone: (702) 388-6336

Email: Robert. Knief@usdoj.gov

Representing the United States of America

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

United States of America,
Plaintiff, Case No. 2'|lg-¢)-DO0SR - JCM ~
Gor
v.
Pretrial Diversion Agreement
Emile Bouari,
Defendant.

 

 

 

 

You have been indicted for an offense against the United States between on or about
March of 2014 and February 2016 in violation of Title 18 United States Code, Section(s)
1956(h) — Conspiracy to Launder Money, and Money Laundering.

Upon accepting responsibility for your behavior and by your signature on this
Agreement, it appearing, after an investigation of the offense, and your background, that
the interest of the United States and your own interest and the interest of justice will be
served by the following procedure; therefore,

On the authority of the Attorney General of the United States, by Nicholas A.

Trutanich, United States Attorney for the District of Nevada prosecution in this District for

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this offense shall be deferred for the period of six months from this date, provided you
abide by the following conditions and the requirements of this Agreement set out below.
Should you violate the conditions of this Agreement, the United States Attorney may
revoke or modify any conditions of this pretrial diversion program or change the period of
supervision, which shall in no case exceed eighteen months. The United States Attorney
may release you from supervision at any time. The United States Attorney may at any time
within the period of your supervision initiate prosecution for this offense should you
violate the conditions of this Agreement. In this case he will furnish you with notice
specifying the conditions of the Agreement which you have violated.

After successfully completing your diversion program and fulfilling all the terms and
conditions of the Agreement, no prosecution for the offenses or investigation leading to the
offenses set out on page one of this Agreement will be instituted in this District, and the
charges against you, ifany, will be dismissed.

Neither this Agreement nor any other document filed with the United States
Attorney as a result of your participation in the Pretrial Diversion Program will be used
against you, except for impeachment purposes, in connection with any prosecution for the

above-described offense.

 

1. Defendant shall submit to the supervision of the Pretrial Services Office in
the District of Nevada, and shail report his whereabouts to the Pretrial Services Officer
assigned to him as directed by Pretrial Services Officer for a period of six months.

 
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2. Defendant shall not violate any federal, state, or local law. Defendant shall
contact his Pretrial Diversion Program officer within 72 hours if Defendant is arrested.
and/or questioned by any law enforcement officer.

3. Defendant shall permit a Pretrial Services Officer to visit Defendant at any
time at home or elsewhere and shall permit confiscation of any contraband observed in
plain view of the Pretrial Services Officer.

4. Defendant shall maintain or actively seek lawful and verifiable employment
as preapproved by Pretrial Services unless otherwise excused by pretrial services.

5. Defendant shail refrain from possessing a firearm, destructive device, or
other dangerous weapons.

6. Defendant shall answer truthfully all inquiries by his Pretrial Services
Officer and follow the instructions of his Pretrial Services Officer.

7. Defendant shall not associate with any persons engaged in criminal activity
and shall not associate with any person convicted of a felony, unless granted permission to
do so by his Pretrial Services Officer.

8, Defendant shall have his passport returned to him.

ACKNOWLEDGEMENT
I, Emile Bouari, assert and certify that I am aware of the fact that the Sixth
Amendment to the Constitution of the United States provides that in alt criminal
prosecutions the accused shall enjoy the right to a speedy and public trial. I am also aware
that Rule 48(b) of the Federal Rules of Criminal Procedure provides that the Court may
dismiss an indictment, information, or complaint for unnecessary delay in presenting a

charge to the Grand Jury, filing an information or in bringing a defendant to trial. I hereby

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request that the United States Attorney for the District of Nevada to defer such
prosecution. I agree and consent that any delay from the date of this Agreement to the
date of initiation of prosecution or trial, as provided for in the terms expressed herein,
shall be deemed to be a necessary delay at my request, and I waive any defense to such
prosecution on the ground that such delay operated to deny my rights under Rule 48(b) of
the Federal Rules of Criminal Procedure and the Sixth Amendment to the Constitution of
the United States to a speedy trial or to bar the prosecution by reason of the running of the
statute of limitations for a period of months equal to the period of his agreement.

I hereby state that I have read the above and it has been explained to me. I

understand the conditions of my Pretrial Diversion Program and agree that I will comply

 

 

with them.
Nicholas A. Tutanich
United States Attorney
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io : -
oe At—é } eh! 4 - 76 IS
Emile Bouari, Defendant Date
Margaret Lambrose Date
Counsel For Defendant

 

 

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Assistant Unitéd States Attorney

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| Zack Bowen Date
U.S. Pretrial Services Officer

 

 
